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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 THE WILDERNESS SOCIETY, et al.,                 )
                                                 )
       Plaintiffs,                               )
                                                 )
 v.                                              )          Case No. 1:17-cv-02587 (TSC)
                                                 )
 JOSEPH R. BIDEN, in his official capacity       )
 as President of the United States, et al.,      )
                                                 )
      Defendants.                                )
                                                 )
                                                 )
 GRAND STAIRCASE ESCALANTE                       )
 PARTNERS, et al.,                               )
                                                 )
       Plaintiffs,                               )
                                                 )          Case No. 1:17-cv-02591 (TSC)
 v.                                              )
                                                 )
 JOSEPH R. BIDEN, in his official capacity       )
 as President of the United States, et al.,      )
                                                 )
      Defendants.                                )           CONSOLIDATED CASES
                                                 )

                                   JOINT STATUS REPORT

       Pursuant to the Court’s March 8, 2021 Order, and July 1, 2021 and September 30, 2021

minute orders, the parties hereby submit this joint status report.

       On October 8, 2021, the President issued Proclamation 10286 addressing the Grand

Staircase-Escalante National Monument. 86 Fed. Reg. 57,335-347 (Oct. 15, 2021). The

Proclamation, by its terms, “[r]estor[es] the Grand Staircase-Escalante National Monument to its

size and boundaries as they existed prior to December 4, 2017.” Id. at 57,336.




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         Previously, on March 8, 2021, the Court ordered the parties to file status reports every 30

days, advising the Court:

         1) whether the current dispute has been mooted or the parties anticipate that it will
         be mooted; 2) whether the parties wish to stay this action for any reason,
         including the parties' negotiations over resolving this dispute; or 3) whether the
         parties agree that this litigation should continue as anticipated pursuant to the
         federal rules, local rules or a scheduling order.

ECF No. 152. The Court reiterated the requirement that the parties file joint status reports every

30 days in minute orders dated July 1, 2021 and September 30, 2021.

         As reported in the prior status report, the parties (primarily the Plaintiffs and Federal

Defendants) are attempting to reach a resolution regarding how, if at all, this case should

proceed. Federal Defendants received a proposed resolution from Plaintiffs, which Federal

Defendants have been evaluating. Federal Defendants continue to evaluate the proposal and

anticipate that they will be able to provide a response to Plaintiffs shortly—the response is still

undergoing internal review. Accordingly, additional time is necessary to determine whether the

parties can reach an agreement.

         All the parties, except for Intervenor-Defendant State of Utah, Garfield County, Kane

County, American Farm Bureau Federation and Utah Farm Federation believe that the Court

should allow an additional thirty days to continue these discussions, so that the parties are in a

better position to formulate their responses to the Court’s inquiries set forth in its March 8, 2021

Order.

         The position of the State of Utah, Garfield County, and Kane County is that an additional

30-day delay in resolving this case is inappropriate because—despite now having had ten

months to do so—the Plaintiffs and the Federal Defendants have not provided information

justifying any contention that the case is not now moot. Plaintiffs state that they offered to


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schedule a call with counsel to discuss information relevant to the mootness question before a

previous joint status report and have not yet received a response to their offer.

       The American Farm Bureau Federation and Utah Farm Bureau Federation take no

position on the additional thirty days.

       Respectfully submitted this 12th day of August, 2022,




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